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                            UNITED STATES DISTRICT COURT

                       NORTHERN DISTRICT OF CALIFORNIA


IN RE: ROUNDUP PRODUCTS                    MDL No. 2741
LIABILITY LITIGATION
                                           Case No. 16-md-02741-VC


This document relates to:                  ORDER DENYING MOTIONS FOR
                                           LEAVE TO FILE MOTION FOR
Bowe v. Monsanto Co.,                      RECONSIDERATION
Case No. 3:22-cv-01229-VC

Coressel v. Monsanto Co.,                  Re: Dkt. Nos. 20448, 20458, 20472, 20482,
Case No. 3:20-cv-03720-VC                  20488, 20492, 20519

Doran v. Monsanto Co.,
Case No. 3:20-cv-02650-VC

Elimes et al. v. Monsanto Co.,
Case No. 3:19-cv-05345-VC

Hayden et al. v. Monsanto Co.,
Case No. 3:19-cv-05600-VC

Lopez v. Monsanto Company,
Case No. 3:20-cv-05888-VC

Rodgers v. Monsanto Co.,
Case No. 3:21-cv-03297-VC

Rowland v. Monsanto Co.,
Case No. 3:19-cv-05310-VC

Setzer et al. v. Monsanto Co.,
Case No. 3:17-cv-03448-VC

Sorrell et al. v. Monsanto Company,
Case No. 3:22-cv-05287-VC
     Case 3:16-md-02741-VC             Document 20619        Filed 05/16/25     Page 2 of 2




   Thompson et al. v. Monsanto Company,
   Case No. 3:20-cv-08851-VC

   Yoder v. Monsanto Co.,
   Case No. 3:22-cv-03140-VC



          The motions for leave to file motion for reconsideration in the above member cases are

denied.

          IT IS SO ORDERED.

Dated: May 16, 2025
                                               ______________________________________
                                               VINCE CHHABRIA
                                               United States District Judge




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